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      JAMES SHAYLER
  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
      JAMES SHAYLER,                                 Case No.: 2:20-cv-07181-JFW-PJW
 11
                Plaintiff,
 12                                                  Assigned to: Hon. John F. Walter
          v.
 13
 14                                                  FIRST AMENDED COMPLAINT
      Ivan W. Searcy, an Individual; Constance       FOR VIOLATIONS OF:
      Searcy, an Individual; Khoi An Vu, an          AMERICAN’S WITH
 15   Individual dba Revitalife Medical Center;      DISABILITIES ACT OF 1990, 42
      and Does 1-10,                                 U.S.C. § 12181 et seq.; UNRUH
 16                                                  CIVIL RIGHTS ACT, CALIFORNIA
 17              Defendants.                         CIVIL CODE § 51 et seq.

 18
 19
                                                     DEMAND FOR JURY TRIAL
 20
 21
 22
 23               Most Americans will become disabled at some point in life.
 24
 25
 26            Plaintiff James Shayler (hereinafter referred to as “Plaintiff”), complains of;
 27   Ivan W. Searcy, an Individual, Constance Searcy, an individual, Khoi An Vu, an
 28

                                             COMPLAINT
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  1   Individual dba Revitalife Medical Center and Does 1-10 (each, individually a
  2   “Defendant” and collectively “Defendants”) and alleges as follows:
  3
                                 I.     PARTIES
  4
            1.     James Shayler has only partial use of his leg and suffers from heart
  5
      failure as well as diabetes related soars on his feet. Plaintiff is a California resident
  6
      with physical disabilities. Plaintiff has difficulty walking and standing. Plaintiff is
  7
      mobility impaired. Plaintiff is qualified as being disabled pursuant to 42 USC
  8
      Section 12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq.
  9
 10   and 52, et seq., and other statutory laws which protect the rights of “disabled

 11   persons”. Plaintiff has been issued a blue permanent disability Disabled Person

 12   Parking Placard by the State of California.
 13         2.     Defendants Ivan W. Searcy, an Individual and Constance Searcy, an
 14   individual owned the property (“Property”) located at 3201 N Sepulveda Blvd.,
 15   Manhattan Beach, CA 90266, at all relevant times.
 16         3.     There is a business establishment on the Property known as “Revitalife
 17   Medical Center” (hereinafter “the business”).
 18
            4.     Defendant Khoi An Vu dba Revitalife Medical Center, owned and
 19
      operated the business at the Property, at all relevant times.
 20
            5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 21
      owners, subsidiaries, parent companies, employers, employees, agents, corporate
 22
      officers, managers, principles and/or representatives of Defendants. Plaintiff is
 23
      unaware of the true names and capacities of Defendants sued herein, as DOES 1
 24
 25   through 10, inclusive, and therefore, sues those Defendants by fictitious names.

 26   Plaintiff requests that the Court grant leave to amend this complaint to allege the

 27   true names and capacities when determined by whatever source.
 28         6.     Plaintiff alleges that Defendants at all times have been and are relevant
                                         2
                              FIRST AMENDED COMPLAINT
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  1   to this cause of action, the owners, franchisees, lessees, general partners, limited
  2   partners, agents, employees, employers, represent partners, subsidiaries, partner
  3
      companies, and/or joint ventures of the remaining Defendants and were acting
  4
      within the course and scope of that relationship. Plaintiff is further informed and
  5
      believes and alleges that each of the Defendants gave consent to, ratified, and/or
  6
      authorized the acts alleged of each of the remaining defendants.
  7
             7.     Plaintiff visited the public accommodations owned and operated by
  8
      Defendants with the intent to purchase and/or use the goods, services, facilities,
  9
 10   privileges, advantages or accommodations operated and/or owned by Defendants.

 11                               II.    JURISDICTION & VENUE

 12          8.     This Court has subject matter jurisdiction over this action pursuant to
 13   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
 14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
 15          9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 16   action, arising from the same nucleus of operative facts and arising out of the same
 17   transactions, is also brought under California’s Unruh Civil Rights Act, which act
 18
      expressly incorporates the ADA.
 19
             10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
 20
      founded on the fact that the real property which is the subject of this action is
 21
      located in this district and that Plaintiffs cause of action arose in this district.
 22
                                  III.   FACTS
 23
             11.    The Property owned by Defendants is a facility which is open to the
 24
 25   public and is a business establishment.

 26          12.    Plaintiff alleges that the Property has been newly constructed and/or

 27   underwent remodeling, repairs, or alterations since 1992, and that Defendants have
 28   failed to comply with California access standards which applied at the time of each
                                          3
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  1   new construction and/or alteration or failed to maintain accessible features in
  2   operable working condition.
  3
            13.    Plaintiff visited the Property during the relevant statutory period on
  4
      three (3) separate occasions from June 2020 to July 2020 to patronize the business
  5
      on the Property.
  6
            14.    Defendants did not offer persons with disabilities with equivalent
  7
      facilities, privileges and advantages offered by Defendants to other patrons.
  8
            15.    Plaintiff encountered barriers (both physical and intangible) that
  9
 10   interfered with – and denied – Plaintiff the ability to use and enjoy the goods,

 11   services, privileges and accommodations offered at the Property.

 12         16.    Parking for patrons visiting the Property are among the facilities,
 13   privileges, and advantages offered by Defendants to patrons of the Property.
 14         17.    However, there is no accessible parking for disabled persons. Not one
 15   single space. The parking spaces do not comply with the Americans with
 16   Disabilities Act (“ADA”).
 17         18.    The parking area does not comply with the latest California Building
 18
      Codes (“2010 CBC Code”).
 19
            19.    Parking are one of the facilities, privileges, and advantages offered by
 20
      Defendants to patrons of the Property.
 21
            20.    When Plaintiff visited the Property, he experienced access barriers
 22
      related to parking, ramps, the entrance and the very ground itself.
 23
            21.    Plaintiff encountered the following barriers at Defendant’s Property:
 24
 25
 26         The Revitalife Medical Center has no disabled parking. There is parking
 27         for able bodied, but not for disabled. There are no lowered counters.
 28         There is no accessible restroom. The ramp blocking the only entrance is
                                        4
                             FIRST AMENDED COMPLAINT
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  1         very steep and dangerous. It is as if they do not welcome or anticipate
  2         any disabled people, at a medical center.
  3
  4
            VIOLATION 2010 CBC 1129B.1; 1991 ADA § 4.1.2(5); (Accessible
  5
            Spaces Required) Where parking is provided, a minimum number of
  6
            accessible spaces are required in accord with the number of total spaces.
  7
            They were not provided.
  8
  9
 10
            VIOLATION of 2010 CBC 1129B.4(5); (Off-Street Unauthorized Parking
 11
            Sign). An additional sign must be posted in a conspicuous place at all
 12
            entrances to off-street parking facilities at Property, or adjacent to and visible
 13
            from each space. It was not.
 14
 15
 16
            VIOLATION of 2010 CBC Code 1133B.7.1; ADA 1991 Code § 4.6.8.
 17
            (Abrupt Change in Level Exceeding 1/2”). The path of travel from the space
 18
            reserved for disabled patrons, the ground surface is uneven, with changes in
 19
            level exceeding 1/2”.
 20
 21
 22         VIOLATION of 2010 CBC Code 1133B.7.4; ADA 2010 § 303.3. (Front
 23         Entrance Threshold/Weather Strip- Interior Changes in level). Inside the
 24
            building, the front door entrance threshold and weather strip has changes in
 25
            level greater than 1/2 inch but provides no ramps. This makes traversing this
 26
            area difficult.
 27
 28
                                         5
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  1         VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking
  2         Sign – Towed Vehicle Information). The Unauthorized Parking Towed
  3
            Vehicle sign must state information regarding the tow company and
  4
            telephone number. This information was not provided. Only part of the
  5
            contact information for the tow company was provided, not the full
  6
            number.
  7
  8
  9
            VIOLATION of 2010 CBC 1129B.3.1; ADA 1991 Code § 4.6.3; ADA
 10
            2010 Code § 502.3 (No Loading/Unloading Access Aisle). The adjacent
 11
            loading/unloading access aisle for the parking spaces are missing entirely.
 12
            This makes it difficult for Plaintiff to use the adjacent space to safely
 13
            disembark from the car.
 14
 15
 16         VIOLATION of 2010 1122B.5; ADA 1991 Code § 7.2; ADA 2010 Code §
 17         904. (Transaction counters). There is no lowered counter for disabled persons
 18         whose line of sight is lower. There was no lowered, 36 inches or less,
 19
            transaction counter for use by persons who cannot see high surfaces because
 20
            of their disability. Without a lowered transaction counter, it is difficult for
 21
            Plaintiff to use the counter to conduct business at the Property.
 22
 23
            VIOLATION of 2010 CBC Section 1115B.3.1.3; ADA 1991 Code § 4.23.6
 24
            (5% Req. Accessible Lavatory). At least 5% or at least one lavatory
 25
 26         complying with accessibility requirements was not provided.

 27
 28         VIOLATION of 2010 CBC Section 1115B.8.4; ADA 1991 Code § 4.16.6;
                                        6
                             FIRST AMENDED COMPLAINT
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  1         ADA 2010 Code § 604.7. (Toilet paper dispenser). The toilet tissue dispenser
  2         is mounted more than 12” from the front edge of the toilet seat, making it
  3
            hard for Plaintiff to use the toilet.
  4
  5
            VIOLATION of 2010 CBC Section 1115B.4.1.3.3.2 (Toilet - Rear Grab
  6
            Bar Extension From Centerline). The toilet rear grab bar extending at least
  7
            12” on one side and 24” on the other side from the centerline was not
  8
            provided.
  9
 10
 11         VIOLATION of 2010 CBC Section 1115B.4.1.3.3.2 (Toilet - Rear Grab

 12         Bar). The toilet rear grab bar of a minimum length of 36” long was not
 13         provided.
 14
 15         VIOLATION of 2010 CBC Section 1115B.4.1.3.3.1 (Toilet - Side Grab
 16         Bar). The toilet side grab bar a minimum of 42” long was not provided.
 17
 18
            VIOLATION of 2010 CBC Section 1115B.4.1.3(3.1) (Toilet Side Grab Bar
 19
            -Height Above Floor). The toilet side wall grab bar shall be attached 33”
 20
            above and parallel to the floor. It was not.
 21
 22
            VIOLATION of 2010 CBC Section 1115B.4.1.3.3.1) (Toilet Side Grab Bar
 23
            -Distance from Rear Wall). The toilet side wall grab bar shall be attached no
 24
 25         more than 12” from the rear wall and extending a minimum of 54” from the

 26         rear wall with the front end positions a minimum of 24” in front of the water

 27         closet. It was not.
 28
                                         7
                              FIRST AMENDED COMPLAINT
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  1         VIOLATION of 2010 CBC Code 1115B.4.1.3(3.2); ADA 1991 § 4.17.6
  2         (Toilet Side Rear Bar -Height Above Floor). The toilet rear wall grab bar
  3
            shall be attached 33” above and parallel to the floor. It was not.
  4
  5
            VIOLATION of 2010 CBC Code 1115B.4.1.; ADA 1991 § 4.17.3 (Water
  6
            Closet – Side Clear Floor Space). A minimum of 32” clear floor space
  7
            extending from the rear wall to the front on the side of the water closet
  8
            adjacent to the wall/partition was not provided.
  9
 10
 11         VIOLATION of 2010 CBC Code Section 1127B.1; ADA 1991 Code §

 12         4.6.2(1). (Directional signage). There is no directional signage showing an
 13         accessible path of travel.
 14
 15
            VIOLATION of 2010 CBC 1129B.3.1; ADA 2010 section 502.6; ADA §
 16
            4.6.3; (Marked Path of Travel). There was also no marked path of travel
 17
            from the parking spaces to the entrance. There is no safe way for Plaintiff to
 18
            park there and then travel to the entrance of the Property. Plaintiff is forced
 19
 20
            to travel a dangerous route, behind parked cars and in the vehicle drive path

 21         to move from the space to the entrance.

 22
 23
            VIOLATION of 2010 CBC 1133B.5.1; ADA § 4.8.1 (Ramps 5%). The
 24
            accessible route of travel is more than 1:20 (5%) but is not a compliant ramp.
 25
 26
 27         VIOLATION of 2010 CBC 1133B.5.2; (48” Min. for Ramps). The ramps

 28         do not have a minimum clear width of 48” inches.
                                        8
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  1         VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Least Possible Slope
  2         of Ramp Mandatory). The least possible slope of the ramp leading into the
  3
            business was not used.
  4
  5
  6         VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Max. Slope of Ramp

  7         8.33%). The slope of the ramp leading into the business is greater than
  8         8.33%.
  9
 10
            VIOLATION of 2010 CBC 1133B.5.3.1; ADA § 4.8.6 (Max. Cross Slope
 11
            of Ramp 2%). The cross slope of the ramp was greater than 2%.
 12
 13
 14         VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4 (Level Ramp
 15         Landings). Level ramp landings must be provided at the top and bottom of
 16         each ramp. They were not provided.
 17
 18
            VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4(1) (Width of Ramp
 19
            Landings). The landing of ramps must be at least twice the width as the tamp
 20
 21         run leading to it, but they were not at least twice as wide.

 22
 23         VIOLATION of 2010 CBC 1133B.5.4.2; ADA § 4.8.4(2), 4.8.4(3) (Min.
 24
            Landing Width and Length for Top Ramp Landings 60”). The top landing of
 25
            ramps were not 60” wide and long as required.
 26
 27
 28         VIOLATION of 2010 CBC 1133B.5.4.2 (Min. Landing Length for Bottom
                                        9
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   1         Ramp Landings 72”). The bottom landing of ramps was not 72” in length as
   2         required.
   3
   4
             VIOLATION of 2010 CBC 1133B.5.4.6; ADA § 4.8.4(3) (Min. Landing
   5
   6         Size for Ramps Direction Change). The minimum landing size of 60” x 60”

   7         was not provided for the ramp’s change of direction.
   8
   9
             VIOLATION of 2010 CBC 1133B.5.4.9 (Ramp Hazard Curb). The
  10
             minimum 2” hazard curb for the ramp with was not provided for the ramp.
  11
  12
  13         VIOLATION of 2010 CBC 1127B.5.7; ADA § 4.7.7 (Detectable Warnings
  14
             - Curb Ramp). Detectable warnings extending the full width and depth of the
  15
             ramp were not installed where curb ramps lead to an accessible route.
  16
  17
  18         VIOLATION of 2010 CBC 1133B.7.1; (Walks/Sidewalks Min. Width 48”)
  19         The walk into the business does not have a minimum width of 48”.
  20         22.    Plaintiff personally encountered these barriers.
  21         23.    These inaccessible conditions denied Plaintiff full and equal access
  22   and caused difficulty, humiliation and frustration.
  23         24.    The barriers existed during each of Plaintiff’s visits in 2020.
  24
             25.    Plaintiff alleges that Defendants knew that the architectural barriers
  25
       prevented access. Plaintiff will prove that Defendants had actual knowledge that the
  26
       architectural barriers prevented access and that the noncompliance with the
  27
       ADAAG and Title 24 of the California Building Code regarding accessible features
  28
                                         10
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   1   was intentional.
   2          26.    Plaintiff intends to return to Defendants public accommodation
   3
       facilities in the near future. Plaintiff is currently deterred from returning because of
   4
       the knowledge of barriers to equal access that continue to exist at Defendants’
   5
       facilities that relate to Plaintiff’s disabilities.
   6
              27.    Defendant has failed to maintain in working and useable conditions
   7
       those features necessary to provide ready access to persons with disabilities.
   8
              28.    Defendants have the financial resources to remove these barriers
   9
  10   without much expense or difficulty in order to make their Property more accessible

  11   to their mobility impaired customers. These barriers are readily achievable to

  12   remove. The United States Department of Justice has identified that these types of
  13   barriers are readily achievable to remove.
  14          29.    To date, Defendants refuse to remove these barriers.
  15          30.    On information and belief, the Plaintiff alleges that the Defendants’
  16   failure to remove these barriers was intentional because the barriers are logical and
  17   obvious. During all relevant times Defendants had authority, control and dominion
  18
       over these conditions and therefore the absence of accessible facilities was not a
  19
       mishap but rather an intentional act.
  20
              31.    These barriers to access are described herein without prejudice to
  21
       Plaintiff citing addition barriers to access after inspection by plaintiff’s access
  22
       agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding
  23
       once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
  24
  25   barriers that relate to their disability removed regardless of whether they personally

  26   encountered them).
  27      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
           WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
  28
                                            11
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   1                                  (Against All Defendants)
   2
   3         32.    Plaintiff alleges and incorporates by reference each and every
   4   allegation contained in all prior paragraphs of this complaint.
   5
             33.    Title III of the ADA prohibits discrimination against any person on the
   6
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
   7
       privileges, advantages, or accommodations of any place of public accommodation
   8
       by any person who owns, leases or leases to, operates a place of public
   9
       accommodation. U.S.C. § 12182(a).
  10
             34.    Defendants discriminated against Plaintiff by denying “full and equal
  11
  12   enjoyment” and use of the goods, services, facilities, privileges or accommodations

  13   of Defendant’s facility during each visit and each incident of deterred visit.

  14         35.    The acts and omissions of Defendant herein are in violation of
  15   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
  16         36.     Pursuant to the ADA discrimination is a “failure to make reasonable
  17   modifications in policies, practices or procedures, when such modifications are
  18   necessary to afford goods, services, facilities, privileged, advantages or
  19   accommodation to individuals with disabilities, unless the entity can demonstrate
  20
       that making such modifications would fundamentally alter the nature of such goods,
  21
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  22
       12182(b)(2)(A)(ii).
  23
             37.    The ADA prohibits failing to remove structural architectural barriers in
  24
       existing facilities where such removal is readily achievable. 42 U.S.C. §
  25
       12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
  26
  27   accomplishable and able to be carried out without much difficulty or expense.” Id.

  28   § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
                                          12
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   1   Part 36.
   2         38.     In the event removal of any barrier is shown to not be readily
   3
       achievable, a failure to make goods, services, facilities, or accommodations
   4
       available through alternative methods is also prohibited if these methods are readily
   5
       achievable. Id. § 12182(b)(2)(A)(v).
   6
             39.     Plaintiff alleges that Defendant can easily remove the architectural
   7
       barriers at their facility without much difficulty or expense, and that Defendant
   8
       violated the ADA by failing to remove those barriers because it was readily
   9
  10   achievable to do so. There are companies in the area which can repaint the parking

  11   areas for as little as $350. Defendants can afford such costs given they are a fraction

  12   of what the Defendants takes in rental profits for such a large and expensive
  13   property.
  14         40.     In the alternative, if it was not “readily achievable” for Defendants to
  15   remove the facilities barriers, the Defendants violated the ADA by failing to make
  16   the required services available through alternative methods, which are readily
  17   achievable.
  18
             41.     On information and belief, the facility was modified after January 26,
  19
       1992, mandating access requirements under the ADA.
  20
             42.     The ADA requires that facilities altered in a manner that affects or
  21
       could affect its usability must be made readily accessible to individuals with
  22
       disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
  23
             43.     Plaintiff alleges that Defendants altered the facility in a manner that
  24
  25   violated the ADA and was not readily accessible to physically disabled persons,

  26   including Plaintiff, to the maximum extent feasible.

  27         44.     The ADA also requires reasonable modification in policies, practices,
  28   or procedures when necessary to afford such goods, services, facilities, or
                                          13
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   1   accommodations to individuals with disabilities, unless the entity can demonstrate
   2   that making such modifications would fundamentally alter their nature. 42 U.S.C. §
   3
       12182(b)(2)(A)(ii).
   4
             45.    Plaintiff alleges that Defendants violated the ADA by failing to make
   5
       reasonable modifications in policies, practices, or procedures at the facility when
   6
       these modifications were necessary to afford (and would not fundamentally alter the
   7
       nature of) these goods, services, facilities, or accommodations.
   8
             46.    Plaintiff seeks a finding from this Court that Defendants violated the
   9
  10   ADA in order to pursue damages under California’s Unruh Civil Rights Act for

  11   Disable Persons Act.

  12         47.    Here the Defendants’ failure to make sure that accessible facilities
  13   were available and ready to be used by the Plaintiff is a violation of law.
  14         48.    Plaintiff would like to continue to frequent Defendants’ facility
  15   because of because it is close to her home, but Plaintiff has been discriminated
  16   against and continues to be discriminated against because of the lack of accessible
  17   features.
  18
             49.    Among the remedies sought, Plaintiff seeks an injunction order
  19
       requiring compliance with the state and federal access laws for all the access
  20
       violations that exist at the Property.
  21
  22
         V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
  23
                           (Cal. Civ. Code § 51-53.)
  24
                                      (Against All Defendants)
  25
  26         50.    Plaintiff repleads and incorporates by reference, as fully set forth again
  27
       herein, the allegations contained in all prior paragraphs of this complaint.
  28
                                          14
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   1          51.    California Civil Code § 51 states, in part: All persons within the
   2   jurisdictions of this state are entitled to the full and equal accommodations,
   3
       advantages, facilities, privileges, or services in all business establishments of every
   4
       kind whatsoever.
   5
              52.    California Civil Code § 51 also states, in part: No business
   6
       establishment of any kind whatsoever shall discriminate against any person in this
   7
       state because of the disability of the person.
   8
              53.    California Civil Code § 51(f) specifically incorporates (by reference)
   9
  10   an individual’s rights under the ADA into the Unruh Act.

  11          54.    The Unruh Act also provides that a violation of the ADA, or California

  12   state accessibility regulations, is a violation of the Unruh Act. Cal Civ. Code, §
  13   51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
  14   (N.D.Cal.1994).
  15          55.    Defendants’ above-mentioned acts and omissions have violated the
  16   Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
  17   advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
  18
       disability.
  19
              56.    Defendants’ above-mentioned acts and omissions have also violated
  20
       the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
  21
       are liable for damages. (Civ. Code § 51(f), 52(a)).
  22
              57.    Because violation of the Unruh Civil Rights Act resulted in difficulty,
  23
       discomfort or embarrassment for the Plaintiff, the Defendants are also each
  24
  25   responsible for statutory damages, such as a civil penalty. (Civ. Code § 52).

  26          58.    Plaintiff was actually damaged.

  27          59.    Plaintiff was damaged by Defendants’ wrongful conduct and seeks
  28   statutory minimum damages of four thousand dollars ($4,000) for each offense.
                                          15
                               FIRST AMENDED COMPLAINT
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   1                                 PRAYER FOR RELIEF
   2                 WHEREFORE, Plaintiff prays judgment against Defendants, as
   3
       follows:
   4
             1. For injunctive relief, compelling Defendants to comply with the
   5
                  Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
   6
                  Plaintiff is not invoking section 55 of the California Civil Code and is not
   7
                  seeking injunctive relief under the Disabled Person Acts.
   8
             2. Damages under the Unruh Civil Rights Act which provides for actual
   9
  10              damages and a statutory minimum of $4,000 per each offense.

  11         3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to

  12              42 U.S.C. § 12205; and Cal. Civ. Code § 52.
  13                                      JURY DEMAND
  14
       Plaintiffs demand a trial by jury on all issues so triable.
  15
  16   DATED: November 9, 2020                  THE LAW OFFICE OF HAKIMI & SHAHRIARI
  17
  18
  19
                                         By:    /s/ Peter Shahriari, Esq.____________
  20                                            PETER SHAHRIARI, ESQ.
                                                Attorney for Plaintiff James Shayler
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                               FIRST AMENDED COMPLAINT
